This is a suit for divorce on the ground *Page 224 
of cruelty. The only cruelty complained of is refusal of the defendant to cohabit with the plaintiff as man and wife. The question does not appear to have been before our Supreme Court. The general rule, and decided weight of authority, with some decisions contra, is that this fact alone, unaccompanied by other acts of cruelty, is not within the terms of the various divorce statutes, however worded.
9 R.C.L. 350; 14 L.R.A. 685; 65 A.S.R. 79; 19 C.J. 56;Schouler, Marriage and Divorce, Sec. 1611; Dec. Dig. DivorceSec. 27 (12).
Where, as here, the refusal is not arbitrary and wilful, but is due to nervous incapacity to make the necessary adjustments and where persistence in the marriage relationship would probably result in a serious and possibly permanent nervous breakdown, the situation is certainly unfortunate but clearly not within our statute.
Bishop vs. Bishop, 133 Wash. 522, 233 P. 918.
   The complaint is dismissed.